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                                                                                                                        Last Revised 8/1/15

                        ​         UNITED STATES BANKRUPTCY COURT
                                             DISTRICT OF NEW JERSEY
IN RE:                                                                                      Case No.
                                                                                            Judge
Cheshire, Clarence                                                                          Chapter 13
                                          Debtor(s)


                                             CHAPTER 13 PLAN AND MOTIONS
[ ] Original                                  [ ] Modified/Notice Required               [X] Discharge Sought
[ ] Motions Included                          [ ] Modified/No Notice Required            [ ] No Discharge Sought

Date: June 19, 2017

                                          THE DEBTOR HAS FILED FOR RELIEF UNDER
                                           CHAPTER 13 OF THE BANKRUPTCY CODE

                                               YOUR RIGHTS WILL BE AFFECTED

You should have received from the court a separate Notice of the Hearing on Confirmation of Plan , which contains the date of the
confirmation hearing on the Plan proposed by the Debtor. This document is the actual Plan proposed by the Debtor to adjust debts.
You should read these papers carefully and discuss them with your attorney. Anyone who wishes to oppose any provision of this Plan
or any motion included in it must file a written objection within the time frame stated in the Notice. This Plan may be confirmed
and become binding, and included motions may be granted without further notice or hearing, unless written objection is filed
before the deadline stated in the Notice.

                         YOU SHOULD FILE A PROOF OF CLAIM BY THE DEADLINE STATED
                          IN THE NOTICE TO RECEIVE DISTRIBUTIONS UNDER ANY PLAN
                       THAT MAY BE CONFIRMED, EVEN IF THE PLAN REFERS TO YOUR CLAIM

 Part 1: Payment and Length of Plan
 a.   The debtor shall pay $ 748.00 per month to the Chapter 13 Trustee, starting on   July 1st 2017   for approximately 30 months.

 b.   The Debtor shall make plan payments to the Trustee from the following sources:
      [X] Future Earnings
      [ ] Other sources of funding (describe source, amount and date when funds are available):

 c.   Use of real property to satisfy plan obligations:
      [ ] Sale of real property
          Description:
          Proposed date for completion:

      [ ] Refinance of real property
          Description:
          Proposed date for completion:

      [ ] Loan modification with respect to mortgage encumbering property
          Description:
          Proposed date for completion:

 d.   [ ] The regular monthly mortgage payment will continue pending the sale, refinance or loan modification.

 e.   [ ] Other information that may be important relating to the payment and length of plan:


 Part 2: Adequate Protection
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a. Adequate protection payments will be made in the amount of $ None to be paid to the Chapter 13 Trustee and disbursed
pre-confirmation to                                                       (creditor).

b. Adequate protection payments will be made in the amount of $     to be paid directly by the debtor(s) outside the
Plan, pre-confirmation to _________________________________________________ (creditor).
Part 3: Priority Claims (Including Administrative Expenses)
All allowed priority claims will be paid in full unless the creditor agrees otherwise:

                                                                                                                          Amount to be
 Creditor                                                                        Type of Priority                                 Paid
 Mark S Cherry Attorney at Law, PC                                               Attorney fee                                 1,500.00

Part 4: Secured Claims


    a. Curing Default and Maintaining Payments
    The Debtor shall pay to the Trustee (as part of the Plan) allowed claims for arrearages on monthly obligations and the
debtor shall pay directly to the creditor (outside the Plan) monthly obligations due after the bankruptcy filing as follows:

                                                                                                                               Regular
                                                                                                            Amount to         Monthly
                                                                                               Interest     be Paid to        Payment
                                                                                               Rate on     Creditor (In       (Outside
  Creditor                              Collateral or Type of Debt            Arrearage      Arrearage           Plan)           Plan)
 None

     b. Modification
     1.) The debtor values collateral as indicated below. If the claim may be modified under Section 1322(b)(2), the secured
creditor shall be paid the amount listed as the "Value of the Creditor Interest in Collateral," plus interest as stated. The portion
of any allowed claim that exceeds that value shall be treated as an unsecured claim. If a secured claim is identified as having
"NO VALUE" it shall be treated as an unsecured claim.


                                     NOTE: A modification under this section ALSO REQUIRES
                                    the appropriate motion to be filed under Section 7 of the Plan.


                                                                                               Value of
                                                                  Total                        Creditor      Annual            Total
                                               Scheduled      Collateral       Superior      Interest in     Interest      Amount to
  Creditor             Collateral                   Debt          Value          Liens       Collateral         Rate         be Paid
 None
     2.) Where the Debtor retains collateral and completes the Plan, payment of the full amount of the allowed secured claim
shall discharge the corresponding lien.

    c. Surrender

    Upon confirmation, the stay is terminated as to surrendered collateral. The Debtor surrenders the following collateral:


                                                                                                        Value of           Remaining
                                                                                                     Surrendered           Unsecured
 Creditor                                         Collateral to be Surrendered                         Collateral               Debt
 None



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    d. Secured Claims Unaffected by the Plan

    The following secured claims are unaffected by the Plan:
    None


    e. Secured Claims to Be Paid in Full Through the Plan

                                                                                                       Total Amount to be Paid
 Creditor                                          Collateral                                                 through the Plan
 None

Part 5: Unsecured Claims
    a. Not separately classified allowed non-priority unsecured claims shall be paid:

              Not less than $                  to be distributed pro rata
              Not less than          percent
            x Pro Rata distribution from any remaining funds

    b. Separately Classified Unsecured Claims shall be treated as follows:

                                                                                                                 Amount to be
 Creditor                             Basis for Separate Classification     Treatment                                    Paid
 None

Part 6: Executory Contracts and Unexpired Leases
All executory contracts and unexpired leases are rejected, except the following, which are assumed:

 Creditor                                   Nature of Contract or Lease                  Treatment by Debtor
 None

Part 7: Motions


            NOTE: All plans containing motions must be served on all potentially affected creditors, together with
            local form, Notice of Chapter 13 Plan Transmittal , within the time and in the manner set forth in D.N.J.
            LBR 3015-1. A Certification of Service must be filed with the Clerk of Court when the plan and
            transmittal notice are served.


    a. Motion to Avoid Liens under 11 U.S.C. Section 522(f).
    The Debtor moves to avoid the following liens that impair exemptions:

                                                                                                          Sum of
                                                                                                        All Other
                                                                                                            Liens
                                                                                          Amount of      Against    Amount of
                       Nature of            Type of         Amount of        Value of       Claimed           the   Lien to be
 Creditor              Collateral           Lien                Lien        Collateral    Exemption      Property    Avoided
 None

    b. Motion to Void Liens and Reclassify Claim from Secured to Completely Unsecured.


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    The Debtor moves to reclassify the following claims as unsecured and to void liens on collateral consistent with Part 4
above:

                                                                                                                  Amount of Lien
 Creditor                                           Collateral                                                  to be Reclassified
 None

    c. Motion to Partially Void Liens and Reclassify Underlying Claims as Partially Secured and Partially Unsecured.

     The Debtor moves to reclassify the following claims as partially secured and partially unsecured, and to void liens on
collateral consistent with Part 4 above:

                                                                                                                     Amount to be
                                                                                                Amount to be        Reclassified as
 Creditor                                    Collateral                                       Deemed Secured           Unsecured
 None

Part 8: Other Plan Provisions
    a. Vesting of Property of the Estate

            X Upon Confirmation
              Upon Discharge

    b. Payment Notices

    Creditors and Lessors provided for in Sections 4, 6 or 7 may continue to mail customary notices or coupons to the Debtor
notwithstanding the automatic stay.

    c. Order of Distribution

    The Trustee shall pay allowed claims in the following order:

         1) Trustee Commissions
         2) Other Administrative Claims
         3) Secured Claims
         4) Lease Arrearages
         5) Priority Claims
         6) General Unsecured Claims

    d. Post-petition claims The Trustee [ ] is, [X] is not authorized to pay post-petition claims filed pursuant to 11 U.S.C.
Section 1305(a) in the amount filed by the post-petition claimant.
Part 9: Modification
If this plan modifies a plan previously filed in this case, complete the information below.

Date of Plan being modified:

 Explain below why the Plan is being modified.                     Explain below how the Plan is being modified.


Are Schedules I and J being filed simultaneously with this Modified Plan? [ ] Yes [X] No

Part 10: Sign Here


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The Debtor(s) and the attorney for the Debtor (if any) must sign this Plan.




Date: 6/18/2017                               /s/ Mark S Cherry Esq
                                              Attorney for the Debtor

I certify under penalty of perjury that the above is true.




Date: 6/18/2017                               /s/ Clarence L Cheshire
                                              Debtor




                                              Joint Debtor




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